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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.19-06407-SNOW


 UNITED STATES OF AMERICA,

       Plaintiff,

 vs.

 JOSE ANIBAL LINARES,

       Defendant.
                                  /


                             NOTICE OF ASSIGNMENT

       The above captioned case has been assigned to the Assistant Federal Public

 Defender specified below.   Please send all notices and inquiries to this attorney at

 the address listed.

                                        Respectfully submitted,

                                        MICHAEL CARUSO
                                        FEDERAL PUBLIC DEFENDER



                                 By:     s/ Timothy Day
                                        Assistant Federal Public Defender
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                            CERTIFICATE OF SERVICE

 I HEREBY certify that on August 26, 2019, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF.           I also certify that the

 foregoing document is being served this day on all counsel of record via transmission

 of Notices of Electronic Filing generated by CM/ECF or in some other authorized

 manner for those counsel or parties who are not authorized to receive electronically

 Notices of Electronic Filing.


                                 By: s/ Timothy Day, AFPD
                                        Timothy Day




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